Case 3:05-cr-30133-DRH      Document 298 Filed 01/08/07      Page 1 of 2   Page ID
                                      #823



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

RICHARD PITTMAN, et al.,

      Defendants.                                     Case No. 05-cr-30133-DRH


                                      ORDER

HERNDON, District Judge:

             Before the Court is a Motions for Disclosure of Rule 404(b) Evidence,

filed by defendant John Frost (Doc. 288), requesting the Court enter an order

requiring the Government to provide advance notice to each Defendant of whether

it intends to introduce Rule 404(b) evidence (other crimes, wrongs or acts) during

trial regarding each particular Defendant. Advance notice is sought for purposes of

determining whether these Defendants may file motions in limine or otherwise shape

their defenses for trial.

             The Court hereby GRANTS the Motion (Docs. 288).          As such, the

Government is hereby ORDERED to:

             (1)    Disclose and provide to defendant John Frost’s attorney any and

                    all evidence the Government intends to offer under Federal Rule

                    of Evidence 404(b) regarding John Frost by Wednesday,

                                         1
Case 3:05-cr-30133-DRH          Document 298 Filed 01/08/07           Page 2 of 2     Page ID
                                          #824



                      January 10, 2007 (and maintain future compliance with the

                      Rule).1



              IT IS SO ORDERED.

              Signed this 8th day of January, 2007.

                                                            /s/       David RHerndon
                                                            United States District Judge




       1
         The Court notes that the Government has not yet responded, but given the pendency of
the upcoming trial, believes it necessary to issue this Order as soon as practicable.

                                               2
